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                             United States District Court for
                                the District of Maryland




United States

        v.                                               No. 1:22-cr-7-LKG

Marilyn Mosby




                                      Proposed Order

        For the reasons stated in Marilyn Mosby’s Motion in Limine to Exclude Government’s

Proposed Summary Charts and Related Testimony, it is hereby ORDERED that the Government

is precluded from presenting evidence regarding inflows to and outflows from her bank accounts

during 2019 and 2020—including, but not limited to, summary exhibits prepared for the

government by FBI forensic accountant Jenna Bender.




Date:
                                                  Hon. Lydia Kay Griggsby
                                                  United States District Judge




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